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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                   4:12cr3033-2
                                              )
              v.                              )
                                              )
BRITNEY J. EDNEY,                             )                     ORDER
                                              )
                      Defendant.              )

       The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the Financial
Affidavit, I find that the above-named defendant is currently eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal
Justice Act Plan for the District of Nebraska.

       I also find the defendant may receive funds in the future which could be drawn on to
pay or reimburse the public defender for legal services rendered. See also, Criminal Justice
Act, 18 U.S.C. §3006A(f).

       Accordingly,

       IT IS ORDERED:

        The Federal Public Defender for the District of Nebraska is appointed to represent the
above named defendant in this matter. In the event that the Federal Public Defender accepts
this appointment, the Federal Public Defender shall forthwith file an appearance in this matter.
In the event the Federal Public Defender should decline this appointment for reason of conflict
or on the basis of the Criminal Justice Act Plan, the Federal Public Defender shall forthwith
provide the court with a draft appointment order (CJA Form 20) bearing the name and other
identifying information of the CJA Panel attorney identified in accordance with the Criminal
Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska.

       May 3, 2012                                 BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
